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IN THE UNITED STATES DISTRICT CoURT 061/0 \
FoR THE WEsTERN DISTRICT oF TENNESSEE £<“/ \QO
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Plaintift`, )
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v. ) No. 05-1073-T-An
)
CoMMISSIONER oF )
SoCIAL sECURITY, )
)
Defendant. )

 

ORDER REQUIRING AMENDED BRIEF

 

In support of her Social Security appeal, Plaintiff has submitted a twenty-nine page
document entitled “Local Rule 7.3 Trial Memorandum.” Plaintiff’s counsel has once again
ignored Local Rule 7.2(e) Which sets a twenty page limit for briefs unless prior court
permission has been obtained Further, Plaintiff’ s counsel has disregarded this court’s
specific admonition in a previous case that “future briefs violating this Local Rule may be
stricken unless permission has been granted to exceed the page limitation.” §_ee Lagy Long
v. Commissioner, 2005 WL 1613777 (W.D. Tenn.) at *2 n. 2.

As Plaintiff’s counsel is Well-aware, Local Rule 7.3 applies to cases that are set for
trial, and Social Security appeals are not set for trial, Plaintiff’s counsel’s transparent

attempt to avoid application of the twenty page limitation is not Well-taken and will not be

This document entered on the docket sheet ln compliance
warn ante ss andrews (a} FacP on 7

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tolerated1 Tactics such as these are not helpful to the plaintiff and are offensive to the entire
judicial processl

Although the court would be justified in striking Plaintiff’s brief, the court will not
punish Plaintiff for her counsel’s misdeeds. However, the court may not be so lenient in the
future. Plaintiff’s counsel is strongly urged to heed this warning Qj;, Granger v. Klein,
197 F. Supp.Zd 85 l(E.D. Mich. 2002) (“Plaintiff‘s brief in opposition to the School
Defendants, numbering thirty-eight (38) pages, violates Local Rule 7.1(c)(3)(A) of the
Eastern District of Michigan, which states that ‘[t]he text of a brief supporting a motion or
response, including footnotes and signatures, may not exceed 20 pages. A party seeking to
file a longer brief may apply ex parte in writing setting forth the reasons.’ The commentary
to this Rule emphasizes that the Rule's ZO-page limit ‘will be strictly enforced,’ and that
‘[a]ttempts to circumvent the Local Rule in any way may be considered an abusive practice
which may result in the motion or response being stricken as well as sanctions being
imposed.’ ln light of Plaintiff‘s blatant disregard of the local rules of this district, this Court
will only consider the first twenty pages of Plaintiffs response brief, and page 31 wherein
Plaintiff voluntarily dismisses the defamation claim in his Complaint.” (citations omitted)).

Plaintiff is hereby DIRECTED to file an amended brief within ten (10) days of the

entry of this order. The amended brief must comply with the Local Rules of this court. Any

 

l The court is puzzled as to why Plaintiff’s counsel did not seek permission to exceed the page limitation

Perrnission is often granted to counsel who can demonstrate a valid reason. lt appears that counsel prefers to engage
in game-playing rather than following the rules of this court.

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attempt to submit the same brief in a smaller font or with more narrow margins will not be
looked on with favor, and any such submission will be stricken. See Varrv White Music
v. Banana Joe's of Akron. Inc., 2002 WL 32026609 (N.D. Ohio) (“The Court notes that
Defendants‘ opposition brief is in violation of the Local Rules. In a case on the standard
traek, memoranda may not exceed twenty pages unless exempted by a judicial officer. In this
case, the Court restricted memoranda to twenty-five pages. In direct contravention to the
spirit of this rule, Defendants filed their memorandum with fewer than twenty-five pages;
however, they greatly reduced the font size and line spacing to cram more text on each page.
The Court admonishes Defendants for this practice and reserves the option to sanction
Defendants at the end of these proceedings in accordance with the above Local Rule.”
(citations omitted)).

The Commissioner will then have ten (10) days to respond to the amended brief. If
the Commissioner does not desire to file an amended response, then the court will consider
the Commissioner’s initial response as a response to the amended brief of Plaintiff

IT IS SO ORDERED.

 

 

JAM D. TODD
UNI ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 10 in
case l:05-CV-01073 was distributed by fax, mail, or direct printing on
.luly 21, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

